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AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                        Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                         &BTUFSO%JTUSJDUPG.JDIJHBO

         UNITED STATES OF AMERICA                                            Judgment in a Criminal Case
                    v.                                                       (For Revocation of Supervised Release)

                  DONALD O. SMITH
                                                                             Case No. 17CR20103-01
                                                                             USM No. 12602-027
                                                                              Andrew Wise
                                                                                                        Defendant’s Attorney
THE DEFENDANT:
✔ admitted guilt to violation of condition(s)
G                                                         1-5                                  of the term of supervision.
G was found in violation of condition(s) FRXQW V                                          after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number               Nature of Violation                                                                                          Violation Ended
 1                       Defendant shall not unlawfully possess a controlled substance. Defendant shall refrain from any unlawful               11/27/2017
                         use of a controlled substance

 2                       Defendant shall report to the probation officer as directed by the Court or probation officer and shall submit a        1/12/2018
                         truthful and complete written report within the first five days of each month.


 3                       Defendant shall participate in a substance abuse treatment program and shall abide by all program require-             11/27/2017
                         ments and restrictions, which may include testing for the detection of alcohol or drugs of abuse at the
                         direction and discretion of the probation officer. While under supervision, the defendant shall not consume
                         alcoholic beverages or any mood altering substances, which overrides the "no excessive use of alcohol"
                         language in standard condition #7. Defendant shall not be allowed to work at a tavern or to patronize taverns
                         or any establishments where alcohol is the principal item of sale. Defendant shall pay all or part of the costs

                         for participation in the program not to exceed the sliding fee scale as established by the Department of
                         Health and Human Services and adopted by this Court.

 4                       You shall not commit another federal, state, or local crime.                                                             1/4/2019

 5                       You shall not commit another federal, state, or local crime.                                                            2/14/2019

       The defendant is sentenced as provided in pages 2 through                  4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                                    and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 1508                          February 5, 2020
                                                                                                   Date of Imposition of Judgment
Defendant’s Year of Birth:            1981
                                                                              s/David M. Lawson
City and State of Defendant’s Residence:                                                                  Signature of Judge
In custody
                                                                              David M. Lawson, U.S. District Judge
                                                                                                       Name and Title of Judge

                                                                             February 10, 2020
                                                                                                                 Date
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AO 245D (Rev. )    Judgment in a Criminal Case for Revocations
                        Sheet 2— Imprisonment
                                                                                                  Judgment — Page   2       of   4
DEFENDANT: DONALD O. SMITH
CASE NUMBER: 17CR20103-01

                                                               IMPRISONMENT

            The defendant is hereby committed to the custody of the )HGHUDOBureau of Prisons to be imprisoned for a total
term of :
Two months.




     G The court makes the following recommendations to the Bureau of Prisons:




     G The defendant is remanded to the custody of the United States Marshal.

     G The defendant shall surrender to the United States Marshal for this district:
         G     at                                 G a.m.         G p.m.       on                                        .
         G     as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         G     before 2 p.m. on                                           .
         G     as notified by the United States Marshal.
         G     as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                          By
                                                                                            DEPUTY UNITED STATES MARSHAL
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AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                       Sheet 3 — Supervised Release
                                                                                              Judgment—Page     3     of        4
DEFENDANT: DONALD O. SMITH
CASE NUMBER: 17CR20103-01
                                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :
 Supervision is revoked. A new term of six months supervised release is imposed. Defendant must spend up to six
 months of that time in a residential re-entry center. The Court is aware of the costs of such program. The costs are
 waived.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
.   You must not unlawfully possess a controlled substance.
.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                   substance abuse. (check if applicable)
.    *<RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
         UHVWLWXWLRQ FKHFNLIDSSOLFDEOH
.    G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (86&, et seq.)
         as directed by the probation officer, theBureau of Prisons, or any state sex offender registration agency in WKHORFDWLRQ
         whHUH you reside, work, are a student, or wereconvicted of a qualifying offense.(check if applicable)
.    G You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
             Case 2:17-cr-20103-DML ECF No. 11, PageID.33 Filed 02/10/20 Page 4 of 4
AO 245D (Rev. )   Judgment in a Criminal Case for Revocations
                       Sheet 3A — Supervised Release
                                                                                                Judgment—Page      4     of        4
DEFENDANT: DONALD O. SMITH
CASE NUMBER: 17CR20103-01

                                         STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
      your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
      different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
      and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
      from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
      officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
      or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
      probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
      been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
      permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
      that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
      nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
      may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
      contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                          Date
